                                                 Case: 1:21-cv-04047 Document12-Person
                                                                              #: 1-1 Filed: 07/29/21 Page 1 of 10 PageID #:6
                                                                                         Jury
                                                                                                                             Exhibit A
                                                                                                                                  FILED
                                                                                                                                  7/1/2021 10:39 AM
                                                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                         IRIS Y. MARTINEZ
                                                                                                                                  CIRCUIT CLERK
                                                                  COUNTY DEPARTMENT, LAW DIVISION
                                                                                                                                  COOK COUNTY, IL
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                                                                                                                                   13892048
                                             LALBHAI PATEL and                                )
                                             BEENA HAIR SALON, INC .,                         )
                                                                                              )
                                                                    Plaintiffs,               )
                                                                                              )          2021L006735
                                                            v.                                ) Case No.
                                                                                              )
                                             STAC BIZNESS SOLUTIONS LLC and                   ) JURY TRIAL DEMANDED
                                             SHAWNA AHO                                       )
                                                                                              )
                                                                    Defendants.

                                                                                      COMPLAINT

                                                   Plaintiffs LALBHAI PATEL and BEENA HAIR SALON, INC., by and through their

                                            undersigned attorneys LOFTUS & EISENBERG, LTD., complain against, Defendant, STAC BIZNESS

                                            SOLUTIONS LLC and SHAWNA AHO as follows:

                                            I.     INTRODUCTION

                                                   1.      Seva Beauty, LLC (“Seva”), is a franchisor of the “Seva Beauty” system of fast

                                            casual spas throughout the nation. Defendants present the “Seva Beauty” franchise as a no-lose

                                            investment opportunity for significant passive income when, in reality, the business model is a no-

                                            win fiasco, with the exception of a select few experienced retailers who have no need for franchise

                                            support.

                                                   2.      Stac Biziness (“Stac”) is a bookkeeping firm whose principal Shawna Aho (“Aho”)

                                            has a degree in accounting. Stac was employed by Seva at all times relevant hereto functioning as

                                            its chief financial officer and personally prepared Seva’s disclosures used to sell franchises.

                                                   3.      The disclosures prepared by Stac and used as the cornerstone of Seva’s sales pitch

                                            were woefully incorrect and the negligence in preparation of this statements was the root cause of

                                            Plaintiffs being induced to purchase Seva franchises.



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                                            II.      PARTIES

                                                     4.    Plaintiff Lalbhai Patel is an individual residing in Illinois.
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                                                     5.    Plaintiff Beena Hair Salon, Inc. is a limited liability company organized under

                                            Illinois law and wholly owned by Lalbhai Patel.

                                                     6.    Defendant, STAC Bizness Solutions, LLC (“STAC”) is, and at all times relevant to

                                            this action has been, a bookkeeping and payroll services company, with its principal place of

                                            business in The Woodlands, Texas. STAC performed bookkeeping and accounting services for

                                            Seva.

                                                     7.    Defendant, Shawna Aho (“Aho”) is, and at all times relevant to this action has been,

                                            the Owner of STAC, with her principal place of business in The Woodlands, Texas. Aho, as Owner

                                            of STAC, performed bookkeeping and accounting services for Seva.

                                            III.     JURISDICTION AND VENUE

                                                     8.    Pursuant to 735 ILCS 5/2-209, this Court has personal jurisdiction over all

                                            Defendants because Defendants committed the tortious acts complained of in Cook County,

                                            Illinois.

                                                     9.    Venue in this county is proper pursuant to 735 ILCS 5/2-101, because the acts and

                                            omissions complained of occurred in this county. Defendants purposely availed themselves of

                                            jurisdiction in Cook County by selling franchises to Cook County residents, directing phone,

                                            email, and letter correspondence to potential franchisees in Cook County, and making oral

                                            misrepresentations to potential franchisees here.




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                                            IV.     FACTS COMMON TO ALL COUNTS

                                                    10.    Seva sells “fast-casual spa” franchises that provide brow-shaping, facial
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                                            “threading,” lash extensions, facial treatments, and various forms of skincare and similar

                                            treatments.

                                                    11.    Plaintiffs purchased a franchise from Seva (the “Franchises”) and started operations

                                            in 2016.

                                                    12.    Plaintiffs each relied on a Franchise Disclosure Document (“FDD”) including an

                                            Item 19 financial disclosure that was drafted by Defendants.

                                                    13.    FDDs are a heavily regulated disclosure intended to provide prospective

                                            franchisees with accurate information regarding the franchise they are purchasing.

                                                    14.    The FTC Rules, 16 CFR 436.5, provides in pertinent part: “If the franchisor makes

                                            any financial performance representation to prospective franchisees, the franchisor must have a

                                            reasonable basis and written substantiation for the representation at the time the representation is

                                            made and must state the representation in the Item 19 disclosure.”

                                                    15.    Financial performance representations as contained in Item 19 of an FDD are one

                                            of the most important parts of such a document and can form a critical factor in the decision of a

                                            prospective franchisee to purchase or not purchase a franchise. Most franchisees place great store

                                            on reported results (whether gross sales, income or otherwise) contained in a formal document and

                                            will assume that the results reported are a fair presentation of past performance, have been prepared

                                            responsibly and are not misleading.

                                                    16.    However, if those results have been prepared or presented negligently and are

                                            misleading, the prospective franchisee is at risk of having made a seriously erroneous decision to

                                            invest in the franchised business and might be faced with loss of his or her investment.




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                                                    17.     Franchisors are prohibited from “cherry-picking” there best performing outlets for

                                            inclusion in the Item 19 disclosure. In the Statement of Basis and Purpose issued by the FTC when
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                                            it amended the FTC Rule in 2007, the FTC noted its efforts to prevent cherry-picking the top

                                            performers and the standard of care requires that if a franchisor discloses data from its best

                                            performing outlets, it must provide a corresponding sample of the worst performing outlets

                                                    18.     Note also that reported results may be mathematically accurate but still not a fair

                                            representation of units’ past performance and could therefore be seriously misleading.

                                                    19.     The FTC has determined that “one of the most frequent abuses occurring in the

                                            marketing of franchises is the use of deceptive past and potential franchise sales, income, and profit

                                            claims. Indeed, the Commission stated that the "use of deceptive and inaccurate profit and loss

                                            statements by franchisors has resulted in a legion of 'horror stories" and that “misleading financial

                                            performance claims are the most common allegation in Commission franchise law enforcement

                                            actions.”

                                                    20.     In general, a franchisor may make an FPR based on a subset of outlets but only if

                                            the FPR based on the subset (a) has a reasonable basis, (b) is accurate, and (c) is not misleading.

                                                    21.     Defendant was retained as Seva’s bookkeepers and were also retained directly by

                                            numerous Seva franchisees.

                                                    22.     Stac was retained by Seva on a flat fee and Aho functioned as the firm’s chief

                                            financial officer handling all of its financial matters.

                                                    23.     Stac also worked directly for countless Seva franchises but concealed that Stac also

                                            worked for the franchisor.




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                                                    24.     Stac and Aho worked closely with countless calls, emails, and video calls with

                                            individuals in Cook County and Lake County Illinois when performing the negligent act and
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                                            omissions described herein.

                                                    25.     Stac and Aho were contracted with Seva pursuant to an agreement executed in Cook

                                            or Lake County.

                                                    26.     Seva would transmit financial documents received by Franchisees in Illinois and

                                            sent them to Stac to review and compile and Stac then return its compilations at issue here to

                                            Illinois.

                                                    27.     Seva was at all time relevant hereto headquartered in Illinois.

                                                    28.     The franchise disclosures co-authored by Defendants were issued from Illinois and

                                            registered in Illinois.

                                                    29.     The final bookkeeping work product of Stac, the Item 19 Disclosure, was delivered

                                            to Plaintiff in Illinois where they reviewed and utilized the bookeeping thus the misrepresentation

                                            occurred in Illinois.

                                                    30.     Defendants had no knowledge or expertise in franchise law but did know they were

                                            creating something that would be relied on by hundreds of franchisees when choosing to invest

                                            hundreds of thousands of dollars.

                                                    31.     Defendants were tasked with preparing the Item 19 FDD disclosure for Seva for

                                            the FDD’s relied on by Plaintiffs when purchasing a franchise between 2014 and 2017.

                                                    32.     Defendants were given a sample Item 19 from a similar franchise and directed by

                                            Seva to prepare a similar disclosure based on financial documents of franchises given to

                                            Defendants.




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                                                   33.      Despite having no base of knowledge of franchise law, Aho accepted the

                                            assignment and proceeded to prepare the Item 19 disclosures.
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                                                   34.      Defendants knew the Item 19 disclosure was going to be given to Plaintiffs in

                                            Illinois to induce them to purchase franchises.

                                                   35.      Defendants knew Plaintiffs would rely on the information contained in the Item 19

                                            disclosure prepared by Stacc.

                                                   36.      Defendants participated in a conference for Seva Beauty in Chicago, Illinois on

                                            August 14, 2017 and met with many franchisees in Illinois.

                                                   37.      Defendants knew their calculations included in the FDD would be distributed to

                                            franchisees and potential franchisees in Illinois.

                                                   38.      Defendants knew Seva had franchisees in Illinois at the time the Item 19 disclosures

                                            were drafted.

                                                   39.      Defendants knew that anyone buying a franchise in Illinois would suffer harms in

                                            Illinois if the representations were not accurate.

                                                   40.      Defendants knew the disclosures needed to provide an accurate representation of

                                            the success, or in this case, failure of Seva franchises.

                                                   41.      Aho offered to Seva to prepare disclosures limited to only the most profitable stores

                                            and prepared several draft groupings of successful franchises to include in the Item 19.

                                                   42.      Defendants completed a disclosure limited to the most profitable stores knowing

                                            that it would not be an accurate representation of Seva’s franchise system for the purpose of

                                            inducing Illinois residents into purchasing a Seva Franchise.

                                                   43.      Defendants cherry-picked the most profitable stores to include in the Item 19

                                            disclosure in order to improve Seva’s marking efforts.




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                                                   44.     Aho stated in an email to Seva’s President: “Once I run the total P&L numbers, I

                                            want to only use the stores on Item 19 that result in the highest profit numbers” and “I added eight
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                                            studios to the report and it lowered the cash flow to 84,000. So I would like to drop several of

                                            those locations and just run the Item 19 with a total of ten studios to get the cash flow up to

                                            104,000.”

                                                   45.     The Item 19 disclosures drafted by Defendant erroneously indicated that the

                                            franchises were very profitable with total revenues in excess of $260,000 and that franchisees

                                            could earn profits in excess of $80,000.

                                                   46.     The disclosures negligently prepared by Defendant were limited to a tiny handful

                                            of less than 10% of the stores limited to the most profitable in direct violation of controlling

                                            regulations and the standard of care for anyone preparing an Item 19 disclosure.

                                                   47.     In reality the franchises during the relevant time period earned less than half the

                                            gross revenues of what was represented in Stac’s disclosure and few earned any profits.

                                                   48.     Controlling regulations and the standard of care for individuals preparing an Item

                                            19 Disclosure required the disclosure of an accurate sampling of stores rather than cherry-picking

                                            the most profitable as done by Defendants.

                                                   49.     The Franchises purchased by Plaintiffs were huge failures, some with no profits

                                            and all with substantial losses.

                                                   50.     Plaintiffs in fact relied on the FDD Item 19 disclosures prepared by Defendant when

                                            choosing to purchase a Seva Franchise in Illinois.

                                                   51.     Were it not for the Item 19 disclosures Plaintiffs would not have purchased the

                                            franchise in Illinois and suffered losses.




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                                                   52.        Plaintiffs invested their time and money into Seva’s offer communicated in their

                                            FDD transmitted to them to and from Illinois based on the promise of over $500,000 in profits per
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                                            franchise earned in Illinois.

                                                   53.        Stac and Aho concealed their involvement in drafting the Item 19 disclosure from

                                            Plaintiffs. Their direct involvement in drafting the Item was not discovered by Plaintiffs until on

                                            or about November 4, 2020.

                                            V.     CLAIMS

                                                                                          COUNT I
                                                                                          Negligence

                                                   54.        Plaintiffs repeat and reallege the allegations contained in Paragraphs 1 through 53

                                            of the Complaint as Paragraph 54 of Count I of the Complaint as though fully set forth herein.

                                                   55.        Stac and Aho owed plaintiffs a duty to prevent foreseeable harm where they had

                                            actual knowledge that Plaintiffs would be relying on the representations made in the Item 19

                                            disclosures prepared.

                                                   56.        Stac and Aho breached their duty of ordinary care by:

                                                         a.   Violating FTC Rules by preparing a misleading Item 19 Disclosure;

                                                         b. Disregarding readily available facts when preparing a disclosure they knew

                                                              Plaintiffs’ would rely on when buying a franchise;

                                                         c. Limiting the Item 19 disclosures to profitable stores despite actual knowledge that

                                                              Plaintiffs would rely on the representations they made; and

                                                         d. Was otherwise carless and negligent as alleged herein.

                                                   57.        As a direct and proximate result of Stac’s breaches of duty as detailed herein,

                                            Plaintiffs and the Class have been damaged in an amount to be proven at trial.


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                                                   WHEREFORE, Plaintiffs, respectfully request an award against Defendant, STAC

                                            BIZNESS SOLUTIONS LLC in an amount in excess of $50,000 to be determined at trial and for
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                                            any and all other relief deemed necessary and appropriate under the circumstances.

                                                                                        COUNT II
                                                                            Illinois Franchise Disclosure Act

                                                   58.     Claimant repeats and realleges the allegations contained in Paragraphs 1 through

                                            53 of the Complaint as Paragraph 58 of Count II of the Complaint as though fully set forth herein.

                                                   59.     The IFDA, 815 ILCS 705, et. seq. provides that a franchisor may not “(a) employ

                                            any device, scheme, or artifice to defraud; (b) make any untrue statement of a material fact or omit

                                            to state a material fact necessary in order to make the statements made, in the light of the

                                            circumstances under which they are made, not misleading; or (c) engage in any act, practice, or

                                            course of business which operates or would operate as a fraud or deceit upon any person.” 815

                                            ILCS 705/6.

                                                   60.     The IFDA provides, 815 ILCS 705/26:

                                                   Every person who directly or indirectly controls a person liable under this Section
                                                   26, every partner in a firm so liable, every principal executive officer or director of
                                                   a corporation so liable, every manager of a limited liability company so liable,
                                                   every person occupying a similar status or performing similar functions, and
                                                   every employee of a person so liable, who materially aids in the act or
                                                   transaction constituting the violation, is also liable jointly and severally with
                                                   and to the same extent as such person, unless said person who otherwise is liable
                                                   had no knowledge or reasonable basis to have knowledge of the facts, acts or
                                                   transactions constituting the alleged violation.

                                            (Emphasis Added)

                                               61. Stac was employed by the Franchisor and performed the function of drafting the Item 19

                                            disclosure and materially aided in the misrepresentations.




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                                                   62.     Through the means described above, Aho represented, expressly or by implication,

                                            in the Item 19 disclosure issued in Illinois and directed at Plaintiffs but only included the most
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                                            profitable franchises.

                                                   63.     Aho intended for Plaintiffs to rely on her deceptive practices and induced them to

                                            purchase a franchise and related services including bookkeeping services from Stac. Respondents’

                                            deception occurred during the marketing and sale of Respondents’ business and related services in

                                            the course of trade and commerce in the state of Illinois. As a result of Respondents’ violations of

                                            the IFDA as described herein, Claimant have been harmed and suffered actual damages and injury-

                                            in-fact caused by Respondents’ deception.

                                                   WHEREFORE, Plaintiffs, respectfully request an award against Defendant, STAC

                                            BIZNESS SOLUTIONS LLC, in an amount in excess of $50,000 to be determined at trial and for

                                            any and all other relief deemed necessary and appropriate under the circumstances.

                                                                                          Respectfully submitted,
                                                                                          LALBHAI PATEL and
                                                                                          BEENA HAIR SALON, INC
                                                                                          Plaintiffs

                                                                                          By:    /s/ Alexander N. Loftus
                                                                                                 One of Their Attorneys
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                                            Dated: July 1, 2021




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